 

Case 1:17-cV-00584-.]TN-ESC ECF No. 1 filed 06/26/17 Page|D.l Page 1 of 6

Pro Se 1 (Rev. 12/16) Complaiot for a Civil Case

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UNITED STATES DISTRICT COURT Ju"gL§§,-<Z,T§OE§§$ PM

L\lQ/&]L_£C n District of

for the

U.S. DlSTR|CT COURT

WESTERN DISTRlCT 0 \CH\ Al\\/\

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Plaintzj'(s)
(Write the fall name of each plaintij" who ls f ling this complain
If the names of all the plaintiffs cannot f t in the space above,

01 )
gyg ) Jury Trial: (checkone) gtYes ENO

please write "see attached " in the space and attach an additional

page with the full list of names. )
-v-

AL,MAZ ‘ dr

Defendant( )

(Write the fall name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write "see attached ” in the space and attach an additional page

with the fall list of names. )

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Case No. .)anen. Neff - u.s.

1 :1 7-cv-584

Distl'ic\ Judge

 

' Jud e .
(to be_fi Ellen S. Carmody - U.S. Maglstrate g

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

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qQQ\ gag& hméz@¢¢ forum

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendaot(s)

 

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Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. F or an individual defendant,
include the person's job or title (¢fknown). Attach additional pages if needed.

Page l of 5

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Defendant No. l

Name i< L 00 HS,~',L»

Job or Title (ifknown)

 

 

 

 

 

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City and County \~<ch m anna \<H (,A M,A z,m
State andZip Code {V\\MOM q-qm "7

Telephone Number 2 ¢, Q_ ~»\ 3 37_. BZZ?_

E-mail Address (ifknown)

 

Defendant No. 2

Name

 

Job or Title (ifknown)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (ifknown)

 

Defendant No. 3

Name

 

Job or Title (ifknown)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Addi'ess (ifknown)

 

Defendant No. 4

Name

 

Job or Title (ifknown)
Street Address

City and County
State and Zip Code

 

 

 

Telephone Number

 

 

E-mail Address (ifknown)

 

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II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case, Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff,

What is the basis for federal court jurisdiction? (check all zhaz apply)

Federal question |:| Diversity of citizenship

Fill out the paragraphs in this section that apply to this case,
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case,

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B. If the Basis for Jurisdic{ion Is Diversity of Citizenship
l. The Plaintiff(s)
a. If the plaintiff is an in vidual SVT w_c_¢g_
The plaintiff, (name) n [A).€.€ §( 2 (’/p\.@/rj‘$v ,is a citizen of the

 

State Of (name) m( ( d\,\ 0 an
l

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) ,

 

and has its principal place of business in the State of (name)

 

(If more than~one plaintiij is named in the complaint attach an additional page providing the
same information for each additional plaintiff )

2. The Defendant(s)

 

 

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of
(foreign nation)

 

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III.

 

b. If the defendant is a corporation \ .T- 71
end lS(
The defendant, (name) L 9 Dis incorporated under
the laws of the State of (name) M \r(/L\’"qa n , and has its

 

principal place of business in the State of (name)] m \(‘/,\__l gain
J

Or is incorporated under the laws of yoreign narion) ,

and has its principal place of business in (mzme) g g c g ]| 32 § .

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

 

3. The Arnount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiE harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal

arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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V. Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll. l

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case,

f

Date of signing! § ll l q |/\

Signature @__ . /M

v

Printed Name of Pl F} (\_) m §§

B. For Attorneys

 

 

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address

State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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